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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                               MINUTES OF PROCEEDINGS

                                                       December 17, 2019
CAMDEN OFFICE                                          DATE OF PROCEEDINGS

JUDGE: ROBERT B. KUGLER

COURT REPORTER:          CARL NAMI, JR.

                                                       Docket # CR 1:18-505 (RBK)
TITLE OF CASE:
UNITED STATES OF AMERICA
             vs.
KENNETH CRAWFORD, JR.
           DEFENDANT PRESENT

APPEARANCE:
John N. Kane, AUSA, and Sean M. Green, AUSA, for USA
Kenneth Crawford, Jr., Defendant Pro Se
Christopher O’Malley, AFPD, Standby Counsel for Defendant

NATURE OF PROCEEDINGS:            JURY TRIAL (COMPLETED)

Trial w/jury continued before the Honorable Robert B. Kugler.
Jury not present.
Defendant’s Petition for Expert Witnesses filed.
Hearing on Defendant’s application to have expert witnesses testify at trial.
Ordered application denied.
Hearing on Defendant’s application for proposed testimony.
Christina Barker resumed for defendant.
Ordered application denied.
Jury present.
Maryann Frisbie resumed for Government.
Government rests.
Defense rests.
Charge by Court.
Recess 12:20pm – 1:20pm
Ordered lunch to be provided to 14 jurors at Government expense.
Sean M. Green, AUSA, provided closing remarks for Government.
Kenneth Crawford, Jr., provided closing remarks for Defendant.
Sean M. Green, AUSA, provided rebuttal remarks for Government.
Ordered bailiff sworn.        CSO Matt Stillman affirmed.
Jury retired to begin deliberations at 3:00p.m.
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Jury returned with verdict at 4:00p.m.
VERDICT: GUILTY Counts 1-11.
Ordered jury polled.        Jury polled.

Ordered jury discharged.
Ordered exhibits returned.
Ordered sentencing set for March 20, 2020 at 10:00AM.
Ordered trial adjourned.
Ordered defendant remanded to the custody of the United States Marshal’s Service.

Time commenced: 9:00AM             Time Adjourned: 4:15PM     Total Time: 6:15

                                                            Lawrence MacStravic
                                                            DEPUTY CLERK
cc: Chambers
